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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA                                               :
                                                                                ORDER
                                                                       :
                 - v. -
                                                                       :
CRISTIAN GUERRERO-MELGARES,                                            :    19 Cr. 734 (WHP)
                                                                       :
                                   Defendant.                          :
                                                                       :
---------------------------------------------------------------------- X

        WHEREAS, with the defendant’s consent, his guilty plea allocution was taken before a

United States Magistrate Judge on December 18, 2020;

        WHEREAS, a transcript of the allocution was made and thereafter was transmitted to the

District Court; and

        WHEREAS, upon review of that transcript, this Court has determined that the defendant

entered the guilty plea knowingly and voluntarily and that there was a factual basis for the guilty

plea;

        IT IS HEREBY ORDERED that the defendant=s guilty plea is accepted.


SO ORDERED:

        January 12, 2021
Dated: ___________________
       New York, New York

                                                             ____________________________________
                                                             HONORABLE WILLIAM H. PAULEY III
                                                             UNITED STATES DISTRICT JUDGE
